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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                              MIAMI DIVISION


    ALEKSEJ GUBAREV,
    XBT HOLDINGS S.A., and
    WEBZILLA, INC.                                                         Case No.
                                                                       0:17-cv-60426-UU
         Plaintiffs,

    v.

    BUZZFEED, INC. and
    BEN SMITH

         Defendants.



                               DECLARATION OF MATTHEW SHAYEFAR
            I, Matthew Shayefar, do hereby declare as follows:
            1.         My name is Matthew Shayefar. I am over the age of 18 years. I am an attorney
   licensed in the State of Florida, the State of California and the Commonwealth of Massachusetts.
   I am counsel of record to Plaintiffs in the above captioned action. I am familiar with the facts
   herein and make this declaration from my own personal knowledge.
            2.         On March 20, 2017, I accessed the website at
   https://www.buzzfeed.com/kenbensinger/these-reports-allege-trump-hasdeep-ties-to-russia,
   which is the Buzzfeed article titled “These Reports Allege Trump Has Deep Ties to Russia,”
   which states it was originally posted on January 10, 2017 and which constitutes the “Defamatory
   Article” as described in the Complaint.
            3.         At the bottom of the Defamatory Article, there is a section titled “Facebook
   Conversations” where Facebook users have commented on the Defamatory Article.
            4.         I looked through the Facebook comments on the Defamatory Article and took
   note of each comment by an individual whose Facebook profile indicated that they live in
   Florida, each of which I describe here based on what the comment and user profile indicates:




                                                        1
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                    a.      On January 10, 2017 at 5:55pm1, a Facebook user named “Jordan Heil,”
                            whose profile indicates that (s)he is from “Miami, Florida” commented on
                            the Defamatory Article.
                    b.      On January 10, 2017 at 9:27pm, a Facebook user named “Mike Abbott,”
                            whose profile indicates that (s)he is from “Panama City Beach, Florida”
                            commented on the Defamatory Article.
                    c.      On January 11, 2017 at 4:34pm, a Facebook user named “Mack Doggs,”
                            whose profile indicates that (s)he is from “Naples, Florida” commented on
                            the Defamatory Article.
                    d.      On January 10, 2017 at 4:31pm, a Facebook user named “Matt La
                            Victoire,” whose profile indicates that (s)he is from “Orlando, Florida”
                            commented on the Defamatory Article.
                    e.      On January 10, 2017 at 4:32pm, a Facebook user named “Dave Thatcher,”
                            whose profile indicates that (s)he is from “Jensen Beach, Florida”
                            commented on the Defamatory Article.
                    f.      On January 11, 2017 at 6:43am, a Facebook user named “Eric Wicks,”
                            whose profile indicates that (s)he is from “Melbourne, Florida”
                            commented on the Defamatory Article.
                    g.      On January 11, 2017 at 2:54pm, a Facebook user named “Janet Love,”
                            whose profile indicates that (s)he is from “Crawfordville, Florida”
                            commented on the Defamatory Article.
                    h.      On January 11, 2017 at 5:13pm, a Facebook user named “Kenny Horton,”
                            whose profile indicates that (s)he is from “Tallahassee, Florida”
                            commented on the Defamatory Article.
                    i.      On January 11, 2017 at 6:44am, a Facebook user named “Erick Wicks,”
                            whose profile indicates that (s)he is from “Melbourne, Florida”
                            commented on the Defamatory Article.




   1
    The time stamps may be matched to my time zone at the time that I was viewing the comments. At the time that I
   was viewing the comments, I was West Hollywood, California.

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              j.    On January 11, 2017 at 1:51pm, a Facebook user named “Todd G.
                    Arnold,” whose profile indicates that (s)he is from “Pensacola, Florida”
                    commented on the Defamatory Article.
              k.    On January 11, 2017 at 4:59pm, a Facebook user named “Jeff Daniel,”
                    whose profile indicates that (s)he works at “Northeast Florida State
                    Hospital” commented on the Defamatory Article.
              l.    On January 11, 2017 at 5:50pm, a Facebook user named “Dawn Hilton
                    Oliveira,” whose profile indicates that (s)he is from “Sarasota, Florida”
                    commented on the Defamatory Article.
              m.    On January 11, 2017 at 8:58am, a Facebook user named “Patricia
                    Masters,” whose profile indicates that (s)he is from “Miami, Florida”
                    commented on the Defamatory Article.
              n.    On January 11, 2017 at 12:35pm, a Facebook user named “Moonsilver
                    Lettuce,” whose profile indicates that (s)he is from “Lake Worth, Florida”
                    commented on the Defamatory Article.
              o.    On January 11, 2017 at 6:50am, a Facebook user named “Erick Wicks,”
                    whose profile indicates that (s)he is from “Melbourne, Florida”
                    commented on the Defamatory Article.
              p.    On January 10, 2017 at 11:22pm, a Facebook user named “Robert
                    d’Anconia,” whose profile indicates that (s)he is from “Miami, Florida”
                    commented on the Defamatory Article.
              q.    On January 10, 2017 at 11:28pm, a Facebook user named “John
                    Heinrich,” whose profile indicates that (s)he is from “Fort Lauderdale,
                    Florida” commented on the Defamatory Article.
              r.    On January 11, 2017 at 2:21am, a Facebook user named “John Heinrich,”
                    whose profile indicates that (s)he is from “Fort Lauderdale, Florida”
                    commented on the Defamatory Article.
              s.    On January 11, 2017 at 4:02am, a Facebook user named “Wynn Wiz,”
                    whose profile indicates that (s)he is from “Tampa, Florida” commented on
                    the Defamatory Article.



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                 t.      On January 11, 2017 at 6:08am, a Facebook user named “David Cohen,”
                         whose profile indicates that (s)he is from “Miami, Florida” commented on
                         the Defamatory Article.
                 u.      On January 11, 2017 at 6:40am, a Facebook user named “Erick Wicks,”
                         whose profile indicates that (s)he is from “Melbourne, Florida”
                         commented on the Defamatory Article.
                 v.      On January 11, 2017 at 3:07pm, a Facebook user named “John Heinrich,”
                         whose profile indicates that (s)he is from “Fort Lauderdale, Florida”
                         commented on the Defamatory Article.
                 w.      On January 11, 2017 at 3:14pm, a Facebook user named “Gary
                         Montgomery,” whose profile indicates that (s)he is from “Cocoa, Florida”
                         commented on the Defamatory Article.
                 x.      On January 12, 2017 at 10:23am, a Facebook user named “James
                         McDonald,” whose profile indicates that (s)he is from “Saint Petersburg,
                         Florida” commented on the Defamatory Article.
                 y.      On January 12, 2017 at 11:19am, a Facebook user named “John Howard,”
                         whose profile indicates that (s)he is from “Tampa, Florida” commented on
                         the Defamatory Article.
                 z.      On January 12, 2017 at 11:38am, a Facebook user named “Ramon Caceres
                         Fernandez,” whose profile indicates that (s)he is from “Stuart, Florida”
                         commented on the Defamatory Article.
                 aa.     On January 12, 2017 at 5:21pm, a Facebook user named “Stephen Davis,”
                         whose profile indicates that (s)he is from “Pensacola, Florida” commented
                         on the Defamatory Article.
                 bb.     On January 15, 2017 at 6:24pm, a Facebook user named “Maryellin
                         Kirkwood,” whose profile indicates that (s)he is from “Sarasota, Florida”
                         commented on the Defamatory Article.
          5.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/buzzfeednews/president-trump-rally-in-florida, which is an article
   titled “Trump Delivered A Fiery Campaign-Style Speech to a Raucous Crowd of Supporters, a
   true and correct printout of which is attached hereto as Exhibit 1, which states “BuzzFeed News’


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   Lissandra Villa reported from Melbourne, Florida and BuzzFeed News streamed the event on
   FaceBook Live.”
           6.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/dinograndoni/trump-supporters-unfazed-by-story-of-him-walking-in-
   on-teen, which is an article titled “At Rallies In Florida, Women Think Trump’s Past is Past,” a
   true and correct printout of which is attached hereto as Exhibit 2, which states “BuzzFeed
   News’s Dino Grandoni reported from Ocala and Ariane Lange reported from Lakeland in
   Florida.”
           7.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/tariniparti/trump-fans-arent-upset-hes-raising-from-big-donors-now,
   which is an article titled “Trump Fans Aren’t Upset He’s Raising From Big Donors Now,” a true
   and correct printout of which is attached hereto as Exhibit 3, which states “Reporting From
   Tampa, Florida.”
           8.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/buzzfeednews/another-yuuge-primary-night, which is an article titled
   “Your Primary Recap: Clinton, Trump Dominate and Rubio Quits,” a true and correct printout of
   which is attached hereto as Exhibit 4, which states “BuzzFeed News correspondence McKay
   Coppins was in Florida with Rubio....”
           9.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/buzzfeednews/live-updates-we-are-not-exaggerating-tuesdays-
   primaries-will, which is an article titled “Sanders Concedes Missouri Primary, Giving Clinton A
   Sweep in Tuesday Contests,” a true and correct printout of which is attached hereto as Exhibit 5,
   which states “BuzzFeed News reporters are with the candidates ... Adrian Carrasquillo is in
   Florida....”
           10.    On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/buzzfeednews/super-tuesday-winners, which is an article titled
   “Trump And Clinton Own Super Tuesday With Victories From The South To Northeast,” a true
   and correct printout of which is attached hereto as Exhibit 6, which states “BuzzFeed News
   reporter ... McKay Coppins is with Rubio in Florida....”
           11.    On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/buzzfeednews/live-updates-super-tuesday-is-coming-and-all-eyes-


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   are-on-tru, which is an article titled “Live Updates: Clinton, Trump Prevail In Big Super Tuesday
   Contests,” a true and correct printout of which is attached hereto as Exhibit 7, which states
   “BuzzFeed News reporter ... McKay Coppins is with Rubio in Florida....”
          12.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/tariniparti/donald-trump-supporters-arent-that-excited-to-vote-for-
   down, which is an article titled “Donald Trump Supporters Aren’t That Excited To Vote For
   Down-Ballot Republicans,” a true and correct printout of which is attached hereto as Exhibit 8,
   which states “Kyle Blaine reported from Miami, Florida.”
          13.     On March 21, 2017, I accessed the URL
   http://www.browardpalmbeach.com/content/printView/6460018, which is an article titled
   “Donald Trump is Twitter Beefin’ with Buzzfeed,” a true and correct printout of which is
   attached hereto as Exhibit 9.
          14.     On March 21, 2016, I accessed the URL
   https://www.thestreet.com/story/11792318/2/florida-orange-juice-uncovers-americas-top-10-
   annoyances.html, which is an article titled “Florida Orange Juice Uncovers America’s Top 10
   Annoyances,” a true and correct printout of which is attached hereto as Exhibit 10.
          15.     On March 21, 2016, I accessed the URL
   https://thecaucus.blogs.nytimes.com/2012/09/03/social-media-site-creates-buzz-with-
   convention-parties, which is an article titled “Social Media Sites Creates Buzz With Convention
   Parties,” a true and correct printout of which is attached hereto as Exhibit 11.
          16.     On March 21, 2016, I accessed the URL
   http://www.politico.com/blogs/media/2012/06/nytimes-buzzfeed-join-forces-126462, which is an
   article titled “NYTimes, BuzzFeed join forces,” a true and correct printout of which is attached
   hereto as Exhibit 12.
          17.     On March 21, 2016, I accessed the URL https://www.buzzfeed.com/tag/florida
   and https://www.buzzfeed.com/tag/florida?p=2&z=5F5X83, which is two pages with the meta
   title “Florida news” and listings of articles on BuzzFeed, true and correct printouts of which are
   attached hereto as Exhibit 13.
          18.     On March 21, 2016, I accessed the Google Trends tool on the Internet, which
   shows Interest in search terms over time. Attached hereto as Exhibit 14 is a true and correct



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   printout of the Google Trends results for “buzzfeed” from the geographic area of Florida over the
   past 12 months.
          19.       Google Trends also allows for the comparison of interests in two different search
   terms over time. Attached hereto as Exhibit 15 is a true and correct printout of the Google
   Trends results comparing “buzzfeed” to “dossier” from the geographic area of Florida over the
   past 12 months as I accessed it on March 21, 2016.
          20.       On March 21, 2016, I accessed the URL
   http://web.tampabay.com/blogs/media/content/buzzfeed-party-draws-news-geeks-florida-
   aquarium-rnc/2099314, which is an article titled “BuzzFeed party draws news geeks to the
   Florida Aquarium for the RNC,” and true and correct printout of which is attached hereto as
   Exhibit 16.
          21.       On March 21, 2016, I accessed the URL https://www.buzzfeed.com/rosiegray/the-
   top-5-strip-clubs-for-the-republican-national, which is an article titled “The Top 5 Strip Clubs
   For The Republican National Convention,” a true and correct printout of which is attached hereto
   as Exhibit 17.
          22.       On March 21, 2016, I performed a search on Buzzfeed’s internal search feature on
   its website for “florida.” A true and correct printout of the results of that search
   (https://www.buzzfeed.com/search?q=florida) is attached hereto as Exhibit 18.
          23.       Attached hereto as Exhibit 19 is a true and correct printout of the first seven pages
   of Google Search results when searching for the term “florida” restricted to results on the
   website “buzzfeed.com.”
          24.       On March 21, 2016, I accessed the URL
   http://www.tampabay.com/blogs/media/content/buzzfeed-will-take-over-florida-aquarium-aug-
   29-party-during-rnc, which is an article titled “BuzzFeed will take over the Florida Aquarium for
   an Aug. 29 party during the RNC, a true and correct printout of which is attached hereto as
   Exhibit 20.
          25.       On March 21, 2016, I accessed the URL http://observer.com/2012/06/the-times-
   they-are-a-buzzin-jim-roberts-and-ben-smith-talk-video-collabo/, which is an article titled “The
   Times They Are A-Buzzin’: Jim Roberts and Ben Smith Talk Video Collabo,” a true and correct
   printout of which is attached hereto as Exhibit 21.



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          26.     On March 23, 2017, I accessed the URL https://www.buzzfeed.com/advertise, a
   true and correct printout of which is attached hereto as Exhibit 22.
          27.     On March 21, 2017, I accessed the URL http://documents.gawker.com/buzzfeed-
   consolidated-financial-statements-1709805537, which is an article titled “BuzzFeed
   Consolidated Financial Statements,” a true and correct printout of which is attached hereto as
   Exhibit 23.
          28.     On March 21, 2017, I accessed the URL
   https://contently.com/strategist/2016/04/21/omg-wont-believe-buzzfeed-advertising/, which is an
   article titled “OMG: You Won’t Blieve What BuzzFeed Is Doing to Advertising,” a true and
   correct printout of which is attached hereto as Exhibit 24.
          29.     On March 21, 2017, I accessed the URL http://www.visitflorida.com/en-us/about-
   us.html and a true and correct printout of the website is attached hereto as Exhibit 25.
          30.     On March 21, 2017, I accessed the URL https://www.buzzfeed.com/fdoc and a
   true and correct printout of that website is attached hereto as Exhibit 26.
          31.     On March 21, 2017, I accessed the URL
   http://www.tampabay.com/blogs/media/content/poynter-institutes-tedx-brings-nyts-david-carr-
   buzzfeeds-ben-smith-florida-friday-parse-jour/2099163, which is an article titled “Poynter
   Institute’s Tedx brings NYT’s David Carr, Buzzfeed’s Ben Smith to Florida Friday to parse
   jounalism’s future,” a true and correct printout of which is attached hereto as Exhibit 27.
          32.     On March 21, 2017, I accessed the URL https://www.buzzfeed.com/visitflorida
   and a true and correct printout of the website is attached hereto as Exhibit 28.
          33.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/claudiakoerner/heres-how-miami-is-reacting-to-the-death-of-fidel-
   castro, which is an article titled “Here’s How Cuban-Americans Are Reacting To The Death of
   Fidel Castro,” a true and correct printout of which is attached hereto as Exhibit 29.
          34.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/jessicamisener/we-live-where-you-spring-break, which is an article
   titled “Can We Guess Which Florida College You Went To In 5 Questions?,” a true and correct
   printout of which is attached hereto as Exhibit 30.
          35.     On March 21, 2017, I accessed the URL
   https://techcrunch.com/2014/08/12/buzzhome/, which is an article titled “BuzzFeed’s Future


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   Depends On Convincing Us Ads Aren’t Ads,” a true and correct printout of which is attached
   hereto as Exhibit 31.
          36.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/jessicamisener/37-reasons-miami-is-the-best-and-weirdest-city-in-
   the-us, which is an article titled “37 Reasons Miami Is The Best (And Weirdest) City In The
   U.S.,” a true and correct printout of which is attached hereto as Exhibit 32.
          37.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/ariellecalderon/hidden-gems-at-universal-studios-and-islands-of-
   adventure, which is an article titled “23 Hidden Gems At Universal Parks In Orlando,” a true and
   correct printout of which is attached hereto as Exhibit 33.
          38.     On March 21, 2017, I accessed the URL
   https://www.buzzfeed.com/alexalvarez/homesick-tbqh, which is an article titled “19 Reasons Not
   To Visit The Miami Area,” a true and correct printout of which is attached hereto as Exhibit 34.
          39.     On March 23, 2017, I accessed the URL
   https://www.buzzfeed.com/advertise/resources/socialcontent, a true and correct printout of which
   is attached hereto as Exhibit 35.
          40.     On March 23, 2017, I accessed the URL
   https://www.census.gov/quickfacts/table/PST045216/12, which is the United States Census
   Bureau’s “QuickFacts” on Florida, a true and correct printout of which is attached hereto as
   Exhibit 36.
          41.     On March 23, 2017, I accessed the Alexa.com website and looked up statistics for
   each of the following websites: foxnews.com, forbes.com, usatoday.com, npr.org, wsj.com and
   politico.com. True and correct printouts of a portion of the Alexa.com statistics for each of the
   websites are attached hereto as Exhibit 37.
          42.     On March 25, 2017, I accessed the URL
   http://www.businessinsider.com/nbcuniversal-invests-another-200-million-in-buzzfeed-2016-10,
   which is an article titled “NBC Universal doubles its investment in BuzzFeed to $400 million,
   valuing the company at around $1.7 billion,” a true and correct printout of which is attached
   hereto as Exhibit 38. The article states that the estimated value of BuzzFeed in or about October
   of 2016, when the article was apparently published, was $1.7 billion.



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           43.     Attached hereto as Exhibit 39 is a true and correct copy of a report from the
   Administrative Office of the United States Courts, entitled “U.S. District Courts—Median Time
   Intervals From Filing to Disposition of Civil Cases Terminated, by District and Method of
   Disposition, During the 12-Month Period Ending March 31, 2015,” representing the most recent
   statistics available for this data.
           44.     On March 25, 2017, I accessed the Alexa.com website and looked up statistics for
   Buzzfeed.com. A true and correct printout of the Alexa.com statistics for the Buzzfeed.com
   website is attached hereto as Exhibit 40.
           45.     Attached hereto as Exhibit 41 is a photograph of a kitten.

   Signed under the pains and penalties of perjury this 27th day of March, 2017.




                                                         ____________________________
                                                         Matthew Shayefar, Esq.




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